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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF GEORGIA


In re:                                                      Case No. 15-60011-EJC
         LINDA F HILL*****

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       O. Byron Meredith III, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 01/09/2015.

         2) The plan was confirmed on 04/01/2015.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
03/22/2017.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 11/23/2016.

         5) The case was dismissed on 08/11/2017.

         6) Number of months from filing to last payment: 20.

         7) Number of months case was pending: 35.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $16,386.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor                $12,023.00
        Less amount refunded to debtor                               $0.00

 NET RECEIPTS:                                                                                    $12,023.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                  $2,939.41
     Court Costs                                                              $310.00
     Trustee Expenses & Compensation                                        $1,070.56
     Other                                                                      $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                  $4,319.97

 Attorney fees paid and disclosed by debtor:                      $0.00


 Scheduled Creditors:
 Creditor                                        Claim         Claim            Claim       Principal      Int.
 Name                                  Class   Scheduled      Asserted         Allowed        Paid         Paid
 1ST FRANKLIN FINANCIAL            Unsecured         675.00           NA              NA            0.00       0.00
 1ST FRANKLIN FINANCIAL            Secured        4,135.66            NA              NA            0.00       0.00
 ALLIANCEONE RECEIVABLE            Unsecured         298.00           NA              NA            0.00       0.00
 ALLIED INTERSTATE                 Unsecured         726.58           NA              NA            0.00       0.00
 BULLOCH COUNTY TAX COMMISSIO      Secured        1,438.40       1,438.40        1,438.40           0.00       0.00
 CAPITAL ONE AUTO FINANCE          Secured       10,000.00     16,374.45         8,400.00      2,526.19     565.28
 CAPITAL ONE AUTO FINANCE          Unsecured            NA            NA         7,974.45           0.00       0.00
 CREDIT BUREAU ASSOCIATES          Unsecured          70.00           NA              NA            0.00       0.00
 CREDIT COLLECTION                 Unsecured          79.00           NA              NA            0.00       0.00
 INTERNAL REVENUE SERVICE          Priority             NA       5,677.84        4,748.84           0.00       0.00
 INTERNAL REVENUE SERVICE          Unsecured            NA            NA           929.00           0.00       0.00
 LANIER COLLECTION                 Unsecured         347.00           NA              NA            0.00       0.00
 MITCHELL D BLUM & ASSOCIATES, L   Unsecured         856.00           NA              NA            0.00       0.00
 PORTFOLIO RECOVERY ASSOCIATES     Unsecured            NA            NA              NA            0.00       0.00
 PORTFOLIO RECOVERY ASSOCIATES     Secured       25,000.00     32,961.40        12,450.00      3,671.99     529.45
 UNITED APPLIANCE & FURN CO        Secured           500.00        500.00          500.00        395.95      14.17




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                     $0.00              $0.00             $0.00
       Debt Secured by Vehicle                           $20,850.00          $6,198.18         $1,094.73
       All Other Secured                                  $1,938.40            $395.95            $14.17
 TOTAL SECURED:                                          $22,788.40          $6,594.13         $1,108.90

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00               $0.00             $0.00
        Domestic Support Ongoing                              $0.00               $0.00             $0.00
        All Other Priority                                $4,748.84               $0.00             $0.00
 TOTAL PRIORITY:                                          $4,748.84               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $8,903.45               $0.00             $0.00


 Disbursements:

         Expenses of Administration                             $4,319.97
         Disbursements to Creditors                             $7,703.03

 TOTAL DISBURSEMENTS :                                                                     $12,023.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/18/2017                             By:/s/ O. Byron Meredith III
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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